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IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.: 2020-CA-004974
DIVISION: CV-B
JUDGE: Hon. Katie L. Dearing

KRISTOPHER JOLLY and CHERYL
JOLLY, his wife; JEREMY LEE and
AMY LEE, his wife; MATTHEW
CIPRIANI; SHAWN O’SHELL and
MALISSA O’SHELL, his wife; PAUL
MASCI and ANGELA MASCI his wife;
NICHOLAS GETTLER; CHARLES
DRYSDALE; LANDON SIMMONS and
SARAH SIMMONS, his wife, SAMUEL
L. BANKS, and AMANDA BANKS, his
wife; WILLIAM REED and HOLLY
REED, his wife; and WESLEY
MILLER and SHANNON MILLER, his
wife;

Plaintiffs,
vs.

HOEGH AUTOLINERS SHIPPING AS;
HOEGH AUTOLINERS
MANAGEMENT AS; HOEGH
AUTOLINERS, INC.; HORIZON
TERMINAL SERVICES, LLC;
GRIMALDI DEEP SEA S.P.A., and
SSA ATLANTIC, LLC,

Defendants.

/

FIRST AMENDED COMPLAINT

Plaintiffs, KRISTOPHER JOLLY and CHERYL JOLLY, his wife; JEREMY
LEE and AMY LEE, his wife; MATTHEW CIPRIANI; SHAWN O’SHELL and

MALISSA O’SHELL, his wife; PAUL MASCI and ANGELA MASCI his wife;
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NICHOLAS GETTLER; CHARLES DRYSDALE; LANDON SIMMONS and SARAH
SIMMONS, his wife, SAMUEL L. BANKS, and AMANDA BANKS, his wife;
WILLIAM REED and HOLLY REED, his wife; and WESLEY MILLER and
SHANNON MILLER, his wife, sue the Defendants, HOEGH AUTOLINERS
SHIPPING AS (“Hoegh Shipping”); HOEGH AUTOLINERS MANAGEMENT AS
(“Hoegh Management”); HOEGH AUTOLINERS, INC. (“Hoegh Autoliners”);
HORIZON TERMINAL SERVICES, LLC (“Horizon”); GRIMALDI DEEP SEA S.P.A.
(“Grimaldi”); and SSA MARINE, INC. (“SSA”), and assert the following:
Parties, Jurisdiction & Venue
1. This is an action for damages in excess of $75,000.00 exclusive of

interest and costs.

2. Venue is proper as the cause of action accrued in Duval County,
Florida.
3. This case is brought under the general maritime law of the United

States of America saving to suitors the rights and remedies herein, and the
Extension of Admiralty Jurisdiction Act set forth in 46 U.S.C. § 30301.

4. The Plaintiffs are all citizens of Florida.

5. The male Plaintiffs are all employed as professional firefighters or
paramedics with Jacksonville Fire & Rescue (“JFRD”), and were injured on June
4, 2020, in the fire and resulting explosion which occurred on the roll on-roll off
car carrier Hoegh Xiamen as it was docked at JAXPORT’s Blount Island Marine
Terminal. Their titles are as follows:

a. Chief Kristopher Jolly
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b. Lieutenant Jeremy Lee;
Cc. Chief Matthew Cipriani;
d. Firefighter-Paramedic Shawn O’Shell;
e. Lieutenant Paul Masci;
f. Firefighter Nicholas Gettler;
g. Chief Charles Drysdale;
h. Engineer Landon Simmons;
i. Firefighter-Paramedic Samuel L. Banks;
j. Firefighter William Reed; and
k. Engineer Wesley Miller.
6. All of the female spouses asserting loss of consortium claims are as

follows and were and remain married to their spouse:

a.

b.

Cc.

d.

g.
h.

Cheryl Jolly, wife of Kristopher Jolly;

Amy Lee, wife of Jeremy Lee;

Malissa O’Shell, wife of Shawn O’Shell;
Angela Masci, wife of Paul Masci;

Sarah Simmons, wife of Landon Simmons;
Amanda Banks, wife of Samuel Banks;
Holly Reed, wife of William Reed; and

Shannon Miller, wife of Wesley Miller.

7. Defendant HOEGH SHIPPING, a Norwegian for profit corporation,

Drammensveien 134, 0277 Oslo, Norway, was the manager and operator of

Hoegh Xiamen at all times material hereto.
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8. HOEGH SHIPPING is subject to the jurisdiction of the courts of
Florida by virtue of having committed a tort within this State; by causing injury
to persons within this state arising out of an act or omission outside of this state
while Defendant was engaged in solicitation or service activities within this state
or products, materials or things processed, serviced or manufactured by the
Defendant were used or consumed within this state in the ordinary course of
commerce, trade, or use; or, by engaging in substantial and not isolated activity
within this state.

9. Defendant HOEGH MANAGEMENT, a Norwegian for profit
corporation, Drammensveien 134, 0277 Oslo, Norway, was the manager and
operator of Hoegh Xiamen at all times material hereto.

10. HOEGH MANAGEMENT is subject to the jurisdiction of the courts
of Florida by virtue of having committed a tort within this State; by causing injury
to persons within this state arising out of an act or omission outside of this state
while Defendant was engaged in solicitation or service activities within this state
or products, materials or things processed, serviced or manufactured by the
Defendant were used or consumed within this state in the ordinary course of
commerce, trade, or use; or, by engaging in substantial and not isolated activity
within this state.

11. Defendant HOEGH AUTOLINERS is a New York for profit
corporation, with its principle place of business in Florida, 2615 Port Industrial
Drive, Suite 405, Jacksonville, Duval County, Florida 32226, and was engaging

in substantial and not isolated activity within this state. This Defendant was the
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local arm of HOEGH SHIPPING and assisted with management of the ship and
shore operations at all times material hereto.

12. Defendant HORIZON is a Delaware for profit corporation with its
principle place of business in Florida, 818 A1A, Suite 304, Ponte Vedra Beach,
FL 32082 and was engaging in substantial and not isolated activity within this
state. This Defendant is a subsidiary of HOEGH SHIPPING, and was responsible
for obtaining, inspecting, organizing, and preparing the used/junk/wrecked cars
portside for safe loading and transport on the Hoegh Xiamen.

13. Defendant GRIMALDI is an Italian for profit corporation, Via
Marchese Campodisola, 13 Naples, Italy 80133, which was operating the Hoegh
Xiamen pursuant to a time charter with HOEGH SHIPPING at all times material
hereto.

14. GRIMALDI is subject to the jurisdiction of the courts of Florida by
virtue of having committed a tort within this State; by causing injury to persons
within this state arising out of an act or omission outside of this state while
Defendant was engaged in solicitation or service activities within this state or
products, materials or things processed, serviced or manufactured by the
Defendant were used or consumed within this state in the ordinary course of
commerce, trade, or use; or, by engaging in substantial and not isolated activity
within this state.

15. Defendant SSA is a Washington for profit corporation, 1131 SW
Klickitat Way, Seattle, WA, 98134-1108, authorized and doing business in

Florida. This Defendant was operating as the stevedore and was responsible for
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the loading of the cargo onto the Hoegh Xiamen at the Blount Island terminal in
Jacksonville, Florida, and was responsible for the loading of approximately 1,500
used/junk/wrecked cars onto the Hoegh Xiamen, that caught on fire and started
the fire on or about the 8 deck of the vessel, which then spread throughout the
vessel, causing the fire and explosion(s) at issue, and ultimately causing the
vessel to be a total loss.

16. Defendant SSA is subject to the jurisdiction of the courts of Florida
by virtue of having committed a tort within this State; by causing injury to
persons within this state arising out of an act or omission outside of this state
while Defendant was engaged in solicitation or service activities within this state
or products, materials or things processed, serviced or manufactured by the
Defendant were used or consumed within this state in the ordinary course of
commerce, trade, or use; or, by engaging in substantial and not isolated activity
within this state.

Relevant Facts Applicable to All Counts

17. On June 4, 2020, the Hoegh Xiamen (IMO: 9431848), an
approximately 600-foot long by 103.5-foot wide roll on roll off (“ro-ro”) cargo ship
was berthed at JAXPORT’s Blount Island Marine Terminal in Jacksonville,
Florida to facilitate the loading of approximately 1,500 used/junked/wrecked
cars as cargo for international transport to west Africa.

18. The Hoegh Xiamen cargo ship was built in China in 2010, and was

sailing under the flag of Norway.
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19. At all times material, the cargo ship was owned by Norway based
Ocean Yield ASA, but was bareboat or demise chartered to HOEGH SHIPPING
and/or HOEGH MANAGEMENT.

20. HOEGH SHIPPING and/or HOEGH MANAGEMENT then time
chartered the Hoegh Xiamen to GRIMALDI whereby HOEGH SHIPPING and/or
HOEGH MANAGEMENT retained ownership and management, but GRIMALDI
staffed the ship with a captain and crew.

21. Fire is one of, if not the, most dangerous events on any ship and ro-
ro ships have a recognized propensity to catch fire -- especially when
transporting motor vehicles, and particularly wrecked motor vehicles, which are
hazardous cargo, prone to catching fire given the combination of gasoline and
automotive batteries which create sparks and ignite.

22. Defendant GRIMALDI has experienced fires on its other ro-ro auto
carrier ships and has written about the dangers of these reoccurring and
dangerous automobile fires on ships. “Grimaldi Group has called for more
stringent controls and cargo regulations for vehicles and containers following
two fires that broke out on its ro-ro vessel Grande Europa last week. The Italian
ocean services provider said there needed to be more controls on car batteries,
which often cause short-circuits on board vessels, as well as in port terminals.”

https: //www.automotivelogistics.media/grimaldi-calls-for-stricter-cargo-rules-

following-latest-vessel-fires/38301.article (last visited July 30, 2020).

23. It is well known that transporting used/junked vehicles is

dangerous as these vehicles are prone to catch fire. While new vehicles are
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normally fitted with a transportation mode which disables most of the internal
electrical circuits and prevents electrical faults (all intended to prevent fires)
during shipment, this feature is absent in old cars.

24. Problems with fire are especially common with vehicles that have
spent a significant amount of time awaiting shipment or are in otherwise poor
condition. Internal electrical connections deteriorate as a result of salt in the
air; parts seize and seals degrade to the point where flammable fluids leak;
electrical cables break down causing electrical faults and shorts to occur;
flammable materials —including gas canisters— are sometimes left in the junked
cars; and mistakenly leaving the key in the stop/park position often leaves many
of the electrical circuits live.

25. Shortly after loading operations were completed on the afternoon of
June 4, 2020, a fire started on deck 7 or 8 of the Hoegh Xiamen. The fire burned
and strengthened inside the vessel for an unknown amount of time before
Jacksonville Fire & Rescue was contacted to provide emergency assistance.

26. The fire was able to burn undetected, because the Hoegh Xiamen
crew had elected to disable and turn off all the fire detection systems while the
ship was docked at the port or alternatively because the fire detection systems
simply did not work.

27. The male Plaintiffs were among the approximately 120 JFRD
firefighters and paramedics who responded to the scene and attempted to

extinguish the blaze on the Hoegh Xiamen, ensure the safety of the crew, and
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prevent the ship from breaking up, sinking, blocking the shipping channel,
exploding, and/or causing an environmental catastrophe.

28. At all times material hereto, each male Plaintiff was aboard the
Hoegh Xiamen in his capacity as a fire fighter/paramedic attempting to provide
aid and to control and extinguish the fire.

29. Upon reaching the scene, the first responders were presented with
a huge 15 floor cargo ship which was burning uncontrollably from the inside
cargo holds.

30. The firefighters attempted to communicate with the Hoegh Xiamen
crew to ascertain the location of the fire, what firefighting efforts of the crew had
taken place before their arrival, how to get to the fire, and the locations of the
ship’s fire hose connections.

31. However, communication was nearly impossible as the Hoegh
Xiamen crew spoke and/or understand very little English, and could not
communicate with the first responders or provide meaningful information
concerning the ship, the location of the fire, or even how to get to it.

32. The JFRD logs provide: “DIFF TIME COMMUNICATING WITH CREW
OF THE SHIP THEY DON’T SPEAK GOOD ENGLISH TRYING TO FIND OUT
WHERE THE FIRE IS COMING FROM”. 16:10:31 “CREW SPEAKS CHINESE”.
16:20:15 The first responders had a difficult time accounting for the crew
because of the “language barrier” 16:24:17

33. Due to the Hoegh Xiamen crew’s inability to communicate the

location of the fire and how to get to it, JFRD had to send reconnaissance crews
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into the dark, burning, ship to find the fire, and to find a route to access and
fight the fire.

34. The failure to provide a crew able to communicate with first
responders at the port of call —able to provide basic information such as the
location of the fire and how to get to the fire to fight it— caused a loss off valuable
time as the fire, and heat from the incinerating cars inside the decks of the ship
grew unabated, threatening to break up the ship and cause an environmental
disaster in the St. Johns River.

35. Unable to communicate with the crew concerning the location of the
fire, and with all 21 members of the crew safely evacuated off the Hoegh Xiamen,
JFRD sent multiple reconnaissance crews of firefighters into and on top of the

' Hoegh Xiamen.

36. The failure of Defendants Hoegh and Grimaldi to provide an
adequately trained and prepared crew, and the crew’s inability to communicate
with first responders in Jacksonville, caused a critical 1 hr 40-minute delay from
the time the fire was first reported until JFRD could even begin fighting the fire.

37. Upon entering the Hoegh Xiamen to fight the fire, the firefighters
proceeded up the stern portside stairwell to where the fire was believed to be
emanating on the aft 8? deck. The deck was full of the smoke, and the
temperatures reaching in excess of 1,000 degrees. Car alarms were sounding
and headlights flashing from the incinerating cars as the fire and heat spread

inside the dark, smoky, closed, and cramped cargo hold decks.

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38. Further, despite the known risks of fires from transporting wrecked
cars with intact electricity and gas tanks in close cramped decks, the Hoegh
Xiamen was not equipped with a water sprinkler system, functioning fire
dampers on the starboard side of the ship, or even internal fire hose connections
on the attack stairwell to assist the firefighters or crew in obtaining water to fight
the blaze. Without adequate or appropriate systems to detect and extinguish the
blaze, the cargo decks packed tight with flammable wrecked automobiles,
burned unabated inside the ship.

39. Given the lack of fire hose connections, the firefighters were forced
to connect the fire hoses on the pier below and drag them up through the ship
from the ground, while attempting to keep the water lines unkinked. The cars
were so tightly packed into the ship that the fire fighters had difficulty getting to
the fire: “Too many cars they would just be blind spraying/ because of how tight
the cars are”. 17:04:39. Additional hoses were brought in and connected and
stretched and charged, from the pier, up the 5t+ deck ramp, over and around
cars and cargo on the 5 deck, up the aft port stairwell, and to the 8t deck.

40. Finally, at 17:36, the command was given, “YOU CAN ADVANCB”,
and upon entry the firefighters noted, “MADE ENTRY CAN SEE A GLOW ON
CARS / WORKING OUR WAY OVER”. However, due to the extreme heat, at 17:39
the initial attack team was called out, “GUYS ARE PUSHING TIME COME OUT
AND REHAB”.

41. Crews were switched out, as the fire continued to grow, “DECK 7 IS

FULL OF SMOKE / DECK 8 & 9 ARE FULL OF HEAT AND SMOKE”. JFRD Logs,

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@ 17:49. Crews switched out continuing to fight the heat and fire. At 18:30
another crew was called out to rehab. The fire-fighting crew exited the 8th deck,
and were going down the stairwell as the next crew was staging on the 5t4 floor
landing of the stairwell, and the Chief of the next crew was standing on the 8th
floor landing awaiting the new attack crew.

42. At that time and place, on the Hoegh Xiamen, in Jacksonville,
Florida, birthed at the port on Blount Island, at @ 18:45, there was a huge
explosion within the ship. The firefighters heard a “growl” or “roar” and could
feel the entire ship begin to vibrate and the Firemen were hit by the explosion
that roared down the stairwell, blasting them with continuous severe heat while
they were trapped in the stairwell of the ship.

43. The heat from explosion, and the power of the blast, severely burned
faces, hands, and bodies of the firefighters, blasted several firefighters out of the
ot deck doorway and over cars on the St» deck, and threw others down flights of
stairs, snapped bones, tearing flesh, and causing severe physical and emotional
trauma as the first responders believed they were going to be trapped inside the
ship and burned to death.

44. The Hoegh Xiamen continued to smolder and burn for the next eight
days. Unable to re-enter the ship after the explosion, JFRD continuously
sprayed water on the outside of the ship to maintain its integrity and prevent an
environmental disaster while the inside of the ship and its combustible cargo

continued to burn from the inside.

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45. Asa result of the fire, explosion, and/or resulting firestorm, all of
the firefighters and paramedics (“the Plaintiffs”) in paragraph five suffered bodily
injury and resulting suffering, pain, disability or physical impairment,
disfigurement, mental anguish, aggravation of any previously existing condition,
lost wages, loss of earning capacity, inconvenience, loss of capacity for the
enjoyment of life, and medical expenses. These losses are either permanent or
continuing and Plaintiffs will suffer such losses in the future.

46. As a result of the explosion and resulting firestorm, each of the
spouses in paragraph six has lost the care, comfort, consortium and services of

their husbands, and these losses will continue into the future.

Count I: Negligence of Hoegh Shipping & Hoegh Management
(Owner/ Manager)

47. Plaintiffs reallege and incorporate by reference the allegations of
paragraphs 1 through 10 and 17 through 46, and further allege:

48. At all times material hereto, Defendant Hoegh Shipping and/or
Hoegh Management were the owners/managers of the Hoegh Xiamen and owed
a duty to exercise reasonable care towards Plaintiffs, who were lawfully aboard
the vessel, but were not members of the crew.

49. At all times material hereto, Defendant Hoegh Shipping and/or
Hoegh Management was/were the “Company” as defined by ISM Code 1.1.2 and
as such agreed to or assumed or were otherwise responsible to ensure that the
Hoegh Xiamen and its crew complied with all International Maritime

Organization and United States codes, statutes and regulations.

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SO. Defendants Hoegh Shipping and/or Hoegh Management negligently
breached that duty of reasonable care, including but not limited to in the
following ways:

a. Failing to maintain the ship in a reasonably safe condition,
including but not limited as to the fire prevention, detection,
response, and extinguishment;

b. Failing to equip the Hoegh Xiamen with reasonable systems
and protections for fires, including appropriate smoke
detectors, alarms, video surveillance (CCTV), automatic fire
dampers, functioning and/or adequate fire suppression
systems, and fire hose connections -- especially given the ship
was being utilized to transport highly combustible cargo
known to catch fire;

Cc. Failing to ensure that the crew aboard the Hoegh Xiamen was
adequately trained, equipped, supervised, and instructed
regarding all aspects of preventing and fighting fires --
including but not limited to the proper and time sensitive
operation of the CO2 system;

d. Failing to supply and provide sufficient tools and/or supplies
to promptly extinguish a cargo fire onboard and boundary cool
the vessel;

e. Failing to implement or follow a Safety Management System

compliant with the International Safety Management Code;

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f. Failing to implement and follow a cargo plan compliant with
the International Maritime Dangerous Goods Code;

g. Permitting dangerous conditions to exist on the ship in
violation of industry customs, standards, the exercise of
reasonable care in light of the risks at hand, and safety
regulations; and

h. Failing to provide a vessel that was reasonably fit for its
intended purpose.

51. Hoegh Shipping and/or Hoegh Management’s negligence
proximately caused the injuries and losses sustained by the Plaintiffs as
described above.

WHEREFORE, Plaintiffs demand judgment against Defendant HOEGH
AUTOLINERS SHIPPING AS, and HOEGH AUTOLINERS MANAGEMENT AS for
damages and costs of suit, together with such other relief as the Court deems
meet and just.

Count II: Negligence of Grimaldi

52. Plaintiffs reallege and incorporate by reference the allegations of
paragraphs 1 through 6, 13 and 14, and 17 through 46, and further allege:

53.  Atall times material hereto, Defendant Grimaldi DEEP SEA SpA was
in possession and control of the Hoegh Xiamen and was operating the vessel

pursuant to a time charter with Hoegh Shipping and/or Hoegh Management.

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54. Grimaldi owed a duty to exercise reasonable care in the outfitting
and operation of the ship, including to Plaintiffs who were lawfully aboard the
vessel but were not members of the crew.

5S. Defendant Grimaldi was the company as defined by ISM Code 1.1.2
and as such agreed to or assumed or was otherwise responsible to ensure that
the Hoegh Xiamen and its crew complied with all International Maritime
Organization and United States codes, statutes and regulations.

56. Defendant Grimaldi negligently breached its duties of reasonable
care, including but not limited to in the following ways:

a. Failing to maintain the ship in a reasonably safe condition,
especially with respect to fire prevention, detection, and
extinction systems;

b. Failing to engage, keep on, adequately inspect and/or repair
known problems with the vessel and its safety systems;

Cc. Failing to properly utilize the CO2 system so as to extinguish
the blaze before it was permitted to spread;

d. Failing to implement or follow a Safety Management System
compliant with the International Safety Management Code;

e. Failing to implement and follow a cargo plan compliant with
the International Maritime Dangerous Goods Code;

f. Failing to recognize the danger of employing a crew unable to

understand and/or communicate in the English language and

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communicate with first responders in an emergency situation
such as a fire at the vessel’s ports of call;

g. Failing to designate one or more individuals able and available
to communicate with first responders in the event of an
emergency where assistance was required and _ basic
information concerning the ship would need to be relayed;

h. Failing to ensure that the crew onboard the Hoegh Xiamen was
properly trained and instructed regarding all aspects
monitoring, detecting, preventing and responding to vehicle
and ship fires;

1. Failing to maintain adequate tools and supplies to promptly
extinguish a vehicle fire onboard the vessel;

j. Failing to adequately monitor the loading of the vessel and
storage of cargo, and to extinguish the fire before it spread out
of control — especially given the decision to disable the fire
detection systems;

k. Failing to ensure that the wrecked/junked vehicles were
properly stored, and/or did not have keys in the ignitions,
batteries connected, and/or other visible dangers prior to
and/or once loaded such as visible leaks and damaged

batteries; and

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l. Failing to intervene timely during the loading when it should
have become clear the hazards, with respect to the junked
vehicles, were not being properly addressed.

57. Grimaldi’s breach of one or more of these duties as described above
proximately caused the injuries and losses sustained by the Plaintiffs.

WHEREFORE, Plaintiffs demand judgment against Defendant GRIMALDI
DEEP SEA S.p.A., for damages and costs of suit, together with such other relief

as the Court deems meet and just.

Count III: Negligence of Horizon & Hoegh Autoliners

58. Plaintiffs reallege and incorporate by reference the allegations of
paragraphs 1 through 6, 11 and 12, 17 through 46, and further allege:

59. At all times material hereto, Defendants Horizon and Hoegh
Autoliners were and remain subsidiary corporations of Hoegh Shipping and/or
Hoegh Management, and these entities performed the shoreside support work to
obtain, store, prepare, and facilitate the transportation of the
wrecked /used/junked cars on Hoegh ships leaving out of JAXPORT, including
specifically the Hoegh Xiamen.

60. Horizon and/or Hoegh Autoliners were responsible for obtaining,
inspecting, organizing, storing, and preparing the wrecked/junked cars for
transport on the Hoegh Xiamen as well as providing any shoreside support

required by the vessel.

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61. Defendants Horizon and Hoegh Autoliners owed a duty to exercise
reasonable care towards people like Plaintiffs who would be injured if these
Defendants failed to ensure that the vehicles being loaded onto the ship were
safe for transport.

62. Defendants Horizon and/or Hoegh Autoliners negligently breached
their duties of reasonable care in one or more of the following ways:

a. Failing to maintain and/or prepare the wrecked/used/junk
vehicles in reasonably safe condition, fit for international
transport, especially in light of the known risks and dangers
of fires with used cars crammed together in closed, cramped,
decks on ro-ro transport ships;

b. Failing to adequately inspect and test the vehicles prior to
positioning them for loading onto the ocean liner for fitness to
be transported;

Cc. Failing to ensure that the batteries and/or sources of
electrical spark and/or fire were disconnected and/or
removed from the vehicles before they were loaded onto the
vessel;

d. Failing to ensure that the fuel tanks were emptied and/or not
punctured and thus a source of explosion before loading them

onto the vessel;

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e. Failing to drain the gasoline and/or disconnect and/or remove
batteries and/or sources of electricity or spark from the
wrecked cars; and

f. Failing to supply and provide sufficient tools and supplies to
promptly extinguish a cargo fire during loading operations;

63. Horizon and/or Hoegh Autoliners’ breach of one or more of these
duties as described above proximately caused the injuries and losses sustained
by the Plaintiffs.

WHEREFORE, Plaintiffs demand judgment against Defendant HORIZON
TERMINAL SERVICES, LLC, and HOEGH AUTOLINERS, INC., for damages and

costs of suit, together with such other relief as the Court deems meet and just.

Count IV: Negligence of SSA

64. Plaintiffs reallege and incorporate by reference the allegations of
paragraphs 1 through 6, 15 and 16, 17 through 46, and further allege:

65. At all times material hereto, Defendant SSA was responsible for the
stevedore operations, loading the wreck/junked/used cars into the Hoegh
Xiamen and then securing them before the ship departed from port.

66. SSA owed a duty to exercise reasonable care to accomplish the
loading of the hazardous and flammable cargo safely without permitting the
cargo to catch fire either during loading or once loaded onto the vessel.

67. Defendant SSA negligently breached its duties of reasonable care,

including but not limited to in one or more of the following ways:

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a. Negligently loading the vehicles onto the Hoegh Xiamen
without regard to the risk of fire;

b. Negligently failing to inspect the junked cars prior to loading
them onto the vessel;

Cc. Negligently failing to ensure that the batteries and/or sources
of electrical spark and/or fire were disconnected and/or
removed from the vehicles before they were loaded onto the
vessel;

d. Negligently failing to ensure that the fuel tanks were emptied
and/or not punctured and thus a source of explosion before
loading them onto the vessel;

e. Negligently failing to ascertain or appreciate that one or more
of the used cars was in a dangerous condition, unfit for
transport on the closed cramped decks of a ro-ro vessel,
including but not limited to having decayed, defective wiring,
connected batteries, fuel in the tanks, omitting sparks,
smoldering, or in danger of catching fire;

f. Negligently permitting the fire to spread during or shortly after
the loading operations;

g. Negligently failing to ensure that all of the car keys were out
of the ignitions and secured and that there were no electrical
sparks or other ignition sources present once the cars were

loaded onto the ship;

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h, Negligently failing to train for and practice responding to a
vehicle fire during loading so as to extinguish the fire promptly
before it spread to other vehicles; and

i. Failing to provide sufficient tools and supplies to promptly
extinguish a cargo fire should it occur during loading
operations;

68. The Defendant’s breach of one or more of these duties as described
above proximately caused the injuries and losses sustained by the Plaintiffs.

WHEREFORE, Plaintiffs demand judgment against Defendant SSA
Atlantic, LLC, for damages and costs of suit, together with such other relief as

the Court deems meet and just.

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